   Case: 1:21-cv-02525 Document #: 136 Filed: 10/17/22 Page 1 of 3 PageID #:3623




                               IN THE U.S. DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BLUDGEON RIFFOLA LTD.,
                                                     Case No. 21-cv-02525
               Plaintiff,
                                                     Judge Gary Feinerman
               v.
                                                     Magistrate Judge Beth W. Jantz
ALI GEGE STORE, et al.,
               Defendants.


         PLAINTIFF’S STATUS REPORT IN RESPONSE TO DEFENDANT’S
       SUPPLEMENTAL MOTION TO VACATE PRELIMINARY INJUNCTION

       Plaintiff Bludgeon Riffola Ltd. (“Plaintiff”), by its counsel, submits the following status

report in response to defendant Womens’ Dresses -YIISU’s (“Defendant”) Supplemental Motion

to Vacate Preliminary Injunction [134].

       Defendant asserts that Plaintiff has failed to file a timely response to his Motion to Vacate

Preliminary Injunction [96] (“Motion”). However, any previous briefing schedule for Defendant’s

Motion was superseded by the Court’s Order [130], which ruled that “Defendant’s motion to

vacate preliminary injunction [96] is entered and continued.” As discussed at the September 13,

2022 hearing, which Defendant chose to not attend, the Motion was entered and continued until

Plaintiff’s Motion to Compel [127] is resolved. Accordingly, any assertion by Defendant that

Plaintiff missed a deadline to respond is without merit.




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   Case: 1:21-cv-02525 Document #: 136 Filed: 10/17/22 Page 2 of 3 PageID #:3624




Dated this 17th day of October 2022.   Respectfully submitted,

                                       /s/ Justin R. Gaudio
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                                       Counsel for Plaintiff Bludgeon Riffola Ltd.




                                          2
   Case: 1:21-cv-02525 Document #: 136 Filed: 10/17/22 Page 3 of 3 PageID #:3625




                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 17th day of October 2022, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send a “Notice

of E-Filing” to the parties of record in this case, including Defendant Womens Dresses -YIISU.


                                              /s/ Justin R. Gaudio
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